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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 UNITED STATES OF AMERICA,
         Movant,
         v.
                                                       Misc. No. 7:22-mc-00164 (PMH)
 ERIC WIENCKOWSKI,
         Respondent.


                                            Order

        Having considered the Parties’ Stipulation and Proposed Order to Transfer Case to the

Western District of Texas, El Paso Division Where Underlying Litigation Is Pending, and finding

that Eric Wienckowski, the person subject to the subpoena, consents to such transfer, the Court

TRANSFERS this action to Judge David C. Guaderrama, on behalf of the Three-Judge Panel.
                         WKH:HVWHUQ'LVWULFWRI7H[DV(O3DVR'LYLVLRQ

DATE: June 23, 2022.
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                                                    HON. PHILIP M. HALPERN
                                                    UNITED STATES DISTRICT JUDGE




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